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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TRACY CAEKAERT,and CAMILLIA              Cause No. CV 20-52-BLG-SPW
MAPLEY,
                                         ORDER GRANTING HARDIN
             Plaintiffs,                 CONGREGATION'S MOTION TO
                                         PERMISSIVELY INTERVENE
       vs.                               PURSUANT TO RULE 24(b),
                                         F.R.CIV.P.
WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK,
INC., WATCH TOWER BIBLE AND
TRACT SOCIETY OF
PENNSYLVANIA,and BRUCE
MAPLEY SR.,

             Defendants.




WATCHTOWER BIBLE AND
TRACT SOCIETY OF NEW YORK,
INC.


              Cross-Claimant,

vs.



BRUCE MAPLEY SR.,

               Cross-Claim Defendant,




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